            Case 2:96-cr-00190-JAM-GGH Document 403 Filed 07/28/20 Page 1 of 2


 1                                    IN THE UNITED STATES DISTRICT COURT
                                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 2

 3
      UNITED STATES OF AMERICA,                                 Case no. S 96-190 JAM 2
 4
                                           Plaintiff,                   ORDER
 5
                               v.
 6
      TROY DONOHUE BARRON,
 7

 8                                       Defendant.

 9

10            Pursuant to the request filed by counsel on July 27, 2020 and good cause appearing therefore,
11
     Defendant Troy Barron’s request to withdraw his July 22, 2020 motion is hereby GRANTED.
12
              Pursuant to defendant’s request, and good cause appearing therefore, this Court’s order of June
13
     30, 2020 [Dkt. 399] is reinstated. Troy Donahue Barron, by and through his attorney Michael Romano, is
14

15   directed to file a supplement or other appropriate response on or before August 21, 2020.

16            IT IS SO ORDERED.

17   Dated:            July 27, 2020
18                                                        /s/ John A. Mendez____________
19                                                        Hon. John A. Mendez
                                                          United States District Court Judge
20

21

22

23

24

25

26

27

28
     Request to Withdraw Application
     for Expedited Briefing & Order
            Case 2:96-cr-00190-JAM-GGH Document 403 Filed 07/28/20 Page 2 of 2


 1                                         CERTIFICATE OF SERVICE

 2            I hereby certify that on July 27, 2020, I electronically filed the foregoing Motion to Withdraw
 3
     Defendant’s Pro Se Request for Expedited Briefing and Disposition in his Petition for Reduction of
 4
     Sentence Pursuant to the First Step Act, using the CM/ECF system, which sent notification of such filing
 5
     of the US Attorney’s Office at jason.hitt@usdoj.gov.
 6
     Dated:            July 27, 2020
 7

 8                                                 By:     /s/ Michael S. Romano
                                                           Michael S. Romano
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     Request to Withdraw Application
     for Expedited Briefing & Order
